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                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                                  DELTA DIVISION

UNITED STATES OF AMERICA                                                             PLAINTIFF

 v.                              Case No. 2:20-cr-00144 KGB

MICHAEL KEITH PRUITT                                                               DEFENDANT


                                            ORDER

       Immediately prior to the sentencing hearing the Court will convene a hearing for the parties

to present any statements that they wish to present, or any arguments that they wish to make,

regarding the defendant’s cooperation, if any. This hearing will be conducted in every criminal

case in which the defendant is convicted, whether the defendant has cooperated or not. The hearing

will be conducted in camera, and the transcript of that hearing will be under seal. After the

cooperation hearing is concluded, the sentencing hearing will be conducted separately.

Cooperation will not be discussed during the sentencing hearing.

       It is so ordered this 22nd day of February 2022.


                                                     ____________________________________
                                                     Kristine G. Baker
                                                     United States District Judge
